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In the United States Court of Federal Claims
                             OFFICE OF SPECIAL MASTERS

******************** *
SAMANTHA SILVESTRI,      *
                         *                         No. 14-666V
             Petitioner, *                         Special Master Christian J. Moran
                         *
v.                       *                         Filed: September 19, 2016
                         *
SECRETARY OF HEALTH      *                         Stipulation; hepatitis A vaccine;
AND HUMAN SERVICES,      *                         acute disseminated encephalomyelitis.
                         *                         (“ADEM”); multiple sclerosis
             Respondent. *                         (“MS”).
******************** *

Ronald C. Homer and Meredith Daniels, Conway, Homer & Chin-Caplan, P.C.,
Boston, MA, for Petitioner;
Heather L Pearlman, U.S. Dep’t of Justice, Washington, DC, for Respondent.

                             UNPUBLISHED DECISION1

       On September 13, 2016, the parties filed a joint stipulation concerning the
petition for compensation filed by Samantha Silvestri on July 29, 2014. In her
petition, petitioner alleged that the hepatitis A vaccine, which is contained in the
Vaccine Injury Table (the “Table”), 42 C.F.R. §100.3(a), and which she received
on January 6, 2012, caused her to suffer acute disseminated encephalomyelitis
(“ADEM”) and multiple sclerosis (“MS”). Petitioner further alleges that she
suffered the residual effects of this injury for more than six months. Petitioner
represents that there has been no prior award or settlement of a civil action for
damages on her behalf as a result of her alleged injuries.



       1
         The E-Government Act, 44 U.S.C. § 3501 note (2012) (Federal Management and
Promotion of Electronic Government Services), requires that the Court post this decision on its
website. Pursuant to Vaccine Rule 18(b), the parties have 14 days to file a motion proposing
redaction of medical information or other information described in 42 U.S.C. § 300aa-12(d)(4).
Any redactions ordered by the special master will appear in the document posted on the website.
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      Respondent denies that petitioner suffered ADEM, MS, or any other injury
that was caused-in-fact by her January 6, 2012 hepatitis A vaccination; denies that
her current disabilities are sequelae of these injuries; and denies that she
experienced the residual effects of her injuries for more than six months.

      Nevertheless, the parties agree to the joint stipulation, attached hereto as
Appendix A. The undersigned finds said stipulation reasonable and adopts it as the
decision of the Court in awarding damages, on the terms set forth therein.

       Damages awarded in that stipulation include:

       A lump sum payment of $200,000.00 in the form of a check payable to
       petitioner, Samantha Silvestri. This amount represents compensation
       for all damages that would be available under 42 U.S.C. § 300aa-15(a).

       In the absence of a motion for review filed pursuant to RCFC, Appendix B,
the clerk is directed to enter judgment in case 14-666V according to this decision
and the attached stipulation.2

     Any questions may be directed to my law clerk, Shannon Proctor, at (202)
357-6360.

       IT IS SO ORDERED.

                                                     s/Christian J. Moran
                                                     Christian J. Moran
                                                     Special Master




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          Pursuant to Vaccine Rule 11(a), the parties can expedite entry of judgment by each
party filing a notice renouncing the right to seek review by a United States Court of Federal
Claims judge.

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                    IN THE UNITED ST ATES COURT OF FEDERAL CLAIMS
                              OFFICE OF SPECIAL MASTERS

                                                   )
SAMANTHA SILVESTRI,                                )
                                                   )
                        Petitioner,                )
                                                   )       No. \4-666V
                   V.                              )       Special Master Christian J. Moran
                                                   )       ECF
SECRETARY OF HEALTH                                )
AND HUMAN SERVICES,                                )
                                                   )
                     Respondent.                   )
~~~~~~~~~~~~~~-                                    )
                                              STIPULATION

       The parties hereby stipulate to the fo llowing matters:

        I.   Samantha Silvestri ("petitioner") filed a petition for vaccine compensation under the

National Vaccine Injury Compensation Progra~ 42 U.S.C . § 300aa-I 0 to 34 (the "Vaccine
             1
Program").         The petition seeks compensation for injuries allegedly related to petitioner's

receipt of the hepatitis A vaccine, which vaccine is contained in the Vaccine Injury Table (the

"Table"), 42 C.F .R. § I 00.3(a).

       2.    Petitioner received her hepatitis A vaccination on January 6, 20 12.

        3.   The vaccine was admini stered within the United States.

        4.   Petitioner alleges that she suffered acute disseminated encephalomyelitis ("ADEM")

and multiple scleros is (" MS") as a result of her hepatitis A vaccination.       She further alleges that

she experienced symptoms of these injuries for more than six months.

        5.       Petitioner represents that there has been no prior award o r settlement of a civi I action


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 T he petition was originally filed on petitioner's behalf by her parents, Carl and Susan Silvestri.
After petitioner reached the age of majority, petitioner was substituted as the sole petitioner herein.
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fo r damages as a result of her alleged injuries.

        6.      Respondent denies that petitioner suffered AD EM, MS, or any o ther inj ury that was

caused-i n-fact by her January 6, 201 2 hepatitis A vacci natio n; denies that her current disabilities

are sequelae o f these inj uries; and denies that she experienced the res id ual effects of her injuries

fo r mo re than six mo nths.

        7.      Mai nta ining their above-stated positions, the parties nevertheless now ag ree that th e

issues between them sha ll be settled and that a decis ion should be entered awarding the

compensati on described in paragraph 8 of this Stipulation.

        8.      As soon as practicable after an entry o f j udgment reflecting a decision cons istent

with the terms of this Stipulation, and after petitioner has tiled an electio n to receive

compensation pursuant to 42 U.S .C. § 300aa-2 1(a)( 1), the Secretary of Health and Human

Servi ces w ill issue a lump sum payment of $200,000.00 in the fo rm of a check payable to

peti tioner.     T his amo unt represents compensati on for all damages that would be available un der

42 U.S.C . § 3 00aa- l 5(a).

        9.      As soon as practi cable after the entry of j udgme nt on ent itl ement in this case, and

after petitioner has fil ed both a proper and timely election to receive compensati on pursuant to

42 U.S.C. § 300aa-2 I (a)(\ ) , and an applicati on, the parties will sub mit to further proceedings

before the special master to award reaso nabl e attorneys' fees and costs incurred in proceeding

 upon this petition.

         l O.     Petitioner and her attorney represent that compensation to be provided pursuant to

 this Stipulation is not fo r any items or services for which the Program is not primaril y liable

 under 42 U.S.C. § 300aa- 15(g), to the extent that payment has been made or can reasonab ly be


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expected to be made under any State compensation programs, insuran ce policies, Federal or

State health benefits programs (other than T itle XIX of the Social Security Act (42 U.S. C.

§ 1396 ct seq.)), or by entities that provide health services on a pre-pai d basis.

        I I.   Payment made pursuant to paragraph 8, and any amounts awarded pursuant to

paragraph 9 of thi s Stipulation, w ill be made in accordance with 42 U .S.C. § 300aa- I 5(i), su bject

to the availability of s ufficient statutory funds.

        12.    The parties and their attorneys further agree and sti pulate that, except for any award

fo r attorneys' fees and litigation costs and past unrcimbursed expenses, the money provided

pursuant to this Stipulation will be used solely for the benefit of petitioner, as contemp lated by a

strict construction of 42 U.S.C. § 300aa- I 5(a) and (d), and subject to the conditions of 42 U.S.C.

§ 300aa- I 5(g) and (h).

        13.    In return for the payments described in paragraphs 8 and 9, petitio ner, in her

individual capacity and o n behalf of her heirs, executors, adm inistrators, successors or assigns,

does foreve r irrevocably and unconditionally release, acquit and discharge the United States and

the Secretary of Health and Human Services from any and all actions, causes of action (including

agreements, judgments, clai ms, damages, loss of servi ces, expenses and all demands of whatever

kind or nature) that have been brought, could have been brought, or could be timely brought in

the Court of Federal Claims, under the National Vacci ne Injury Compensation Program, 42

U.S.C. § 300aa- I 0 et seq., on account of, o r in any way growing out of, any and all known or

unknown, suspected or unsuspected personal injuries to o r death of petitioner resulting from, or

 alleged to have resulted from, the hepatitis A vaccine administered on January 6, 201 2, as

 all eged by petitioner in a petitio n for vaccine compensation filed on or about July 29, 20 14, in

 the United States Court of Federal C laims as petition No. 14-666V.

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       14.    If petitioner should die prior to entry of judgment, th is agreement shall be voidable

upon proper notice to the Court on behalfo f cithcr or both of the parties.

        15.   If the special master fail s to issue a decision in complete conformity with the terms

of this Stipulation or if the Court of Federal Claims fails to enter judgment in conformity with a

decision that is in complete conformity with the terms of this Stipulation, then the parties'

settlement and this Stipulation shall be voidable al the sole discretion of either party.

        16.   Thi s Stipulation expresses a full and complete negotiated settlement of liability and

damages claimed under the Nati onal Childhood Vaccine Injury Act of 1986, as amended, except

as otherwise noted in paragraph 9 above.      There is absolutely no agreement on the part of the

parties hereto to make any payment or to do any act or thing other than is herein expressly stated

and clearly agreed to.   The parties further agree and understand that the award described in th is

stipulation may refl ect a compromise of the parties' respective positions as to liability and/or

amount of damages, and further, that a change in the nature of the injury or condition or in the

items of compensation sought, is not grounds to modify or revise this agreement.

        17. Th is Stipulation shall not be construed as an admission by the United States or the

Secretary of Health and Human Services that the hepatitis A vaccine caused petitioner's alleged

injuries, or any other inj ury, or that her current disabilities are sequelae of her all eged injuries.

        18. All rights and obligations of petitioner hereunder shal I apply equally to petitioner's

 heirs, executors, administrators, successors, and/or assigns.

                                       END OF STIPULATJON



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  Respectfully submitted,

  PETITIONER:




  ATTORNEY OF RECORD FOR                          AUTHORIZED REPRESENTATIVE
  PETITIONER:                                     OF THE ATTORNEY GENERAL:



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  RONALD C. HOMR /!MJ.fS?, /fc}f~)                          !NE E. REEVES
  Attorney for Petitioner                         Acting Deputy Director
  CONWAY, HOMER & C HIN-CAPLAN, P.C.              Torts Branch
  16 Shawmut Street                               Civil Division
  Boston, MA 02 l 16                              U.S. Department of Justice
  (617) 695-1990                                  P.O. Box 146
                                                  Benj amin Franklin Station
                                                  Washington, DC 20044-0 146

  AUTHORIZED REPRESENTATIVE                       ATTORNF.Y OF RECORD FOR
  OF THE SEC RE   Y OF HEALTH                     RESPONDENT:
  AND HUM       R CES:



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                 AlR, M.D.                        HEATHER L. PEARLMAN
  Acting Director, Division of Injury             Assistant Director
  Compe ns~ti on Programs                         Torts Branch
  Healthcare Systems Bureau                       Civi l Di vision
  U.S. Department of Health                       U.S . Oep-.irtment of J113ticc
  and Human Services                              P.O. Box 146
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